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Administrator of Thielert Aircraft Engines GmbH

IN THE UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
In re: Chapter 11
SUPERIOR AIR PARTS, INC. Case No. 08-36705-BJH-11

Debtor.

NOTICE OF HEARING ON MOTION TO
CONTINUE HEARING ON MOTION TO ENFORCE [D.I. 690]

PLEASE TAKE NOTICE that the Insolvency Administrator’s Motion to Continue

Hearing on Motion to Enforce [D.I. 690] in the above-captioned bankruptcy case is set for

Desc

hearing on December 12, 2013 at 1:15 p.m. before the Honorable Barbara J. Houser, United

States Bankruptcy Judge in Courtroom #2 at 1100 Commerce Street, 14" Floor, Dallas, Texas

75242.

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Respectfully submitted,

SIMON, RAY & WINIKKA LLP

By: /s/ Craig F. Simon

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 10" day of December 2013, a true and
correct copy of the foregoing document has been served on the parties listed below via the
Court’s ECF filing system and via prepaid first-class mail and/or email.

/s/ Craig F. Simon

Craig F. Simon

U.S. Trustee
1100 Commerce Street, Room 976
Dallas, TX 75242-1496

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